                                                      Case 3:16-cv-02971-JAH-BLM Document 55 Filed 07/03/19 PageID.546 Page 1 of 2



                                                        1   Alex Asil Mashiri, Esq. (SBN 283798)
                                                            alexmashiri@yahoo.com
                                                        2   MASHIRI LAW FIRM
                                                        3   A Professional Corporation
                                                            11251 Rancho Carmel Drive #500694
                                                        4   San Diego, CA 92150
                                                        5   Tel: (858) 348-4938
                                                            Fax: (858) 348-4939
                                                        6

                                                        7   Tamim Jami, Esq. (SBN 311351)
                                                            tamim@jamilaw.com
                                                        8
                                                            THE JAMI LAW FIRM P.C.
                                                        9   3525 Del Mar Heights Rd #941
                                                            San Diego, CA 92130
                                                       10
                                                            Tel: (858) 284-0248
                                                       11   Fax: (858) 284-0977
                                                       12
                                                            Attorneys for Plaintiff:
                   11251 RANCHO CARMEL DR. # 500694
                    A PROFESSIONAL CORPORATION
MASHIRI LAW FIRM




                                                       13   FELIPE MAGALLON
                          FAX: (858) 858-348-4939
                          SAN DIEGO, CA 92150
                           TEL: (858) 348-4938




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                                                                                     UNITED STATES DISTRICT COURT
                                                       15                          SOUTHERN DISTRICT OF CALIFORNIA
                                                       16
                                                            FELIPE MAGALLON, individually and  )                      Case No.: 3:16-cv-02971-JAH (BLM)
                                                       17   on behalf of others similarly situated,
                                                                                               )
                                                       18
                                                                                               )                      CLASS ACTION
                                                                         Plaintiff,            )
                                                       19                                      )
                                                       20
                                                                   vs.                         )                      PLAINTIFF’S UNOPPOSED
                                                                                               )                      NOTICE OF MOTION AND
                                                       21                                      )                      MOTION FOR FINAL APPROVAL
                                                       22
                                                            VITAL RECOVERY SERVICES, LLC. )                           OF CLASS SETTLEMENT
                                                            and VITAL SOLUTIONS, INC.,         )
                                                       23                                      )                      Date: August 5, 2019
                                                       24
                                                                         Defendants.           )                      Time: 2:30 p.m.
                                                                                               )                      Dist. Judge: Hon. John A. Houston
                                                       25                                      )                      Courtroom: Courtroom 13B
                                                       26
                                                                                               )
                                                                                               )
                                                       27                                      )
                                                       28   __________________________________ )

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                                                                   PLAINTIFF’S NOTICE OF MOT & MOT. FOR FINAL APPROVAL OF CLASS SETTLEMENT – Magallon v. VRS et al.
                                                      Case 3:16-cv-02971-JAH-BLM Document 55 Filed 07/03/19 PageID.547 Page 2 of 2



                                                        1         TO THE PARTIES AND THEIR ATTORNEYS OF RECORD:

                                                        2         PLEASE TAKE NOTICE that on August 5, 2019 at 2:30 p.m., in Courtroom

                                                        3   13B at the United States Court Located at 333 West Broadway, San Diego, CA

                                                        4   92101, Plaintiff FELIPE MAGALLON (“Plaintiff) will, and hereby does, move for an
                                                        5   Order (1) granting final approval of the parties’ class action settlement; and (2)
                                                        6   approving the requested incentive award to named Plaintiff Felipe Magallon. This
                                                        7   Motion is unopposed.
                                                        8         Final approval is warranted because the settlement is fair, adequate, and
                                                        9   reasonable. The Class received adequate notice of the settlement and its terms, and
                                                       10   no Class Member has objected to the settlement. Only two recipient opted out,
                                                       11   indicating an overwhelmingly positive reaction by the Class.
                                                       12         This Motion is based upon this Notice; the Memorandum of Points and
                   11251 RANCHO CARMEL DR. # 500694
                    A PROFESSIONAL CORPORATION
MASHIRI LAW FIRM




                                                       13   Authorities filed herein; the Declaration of Alex Asil Mashiri, the Declaration of
                          FAX: (858) 858-348-4939
                          SAN DIEGO, CA 92150
                           TEL: (858) 348-4938




                                                       14   Tamim Jami; the Declaration of Felipe Magallon; the Declaration of Bailey Hughes;
                                                       15   on all pleadings and papers on file in this matter; on any matters which this Court
                                                       16   must or may take judicial notice; and upon all evidence and arguments that this Court
                                                       17   may permit at the time of hearing of this motion.
                                                       18   Respectfully submitted,
                                                       19   DATED: July 3, 2019                                      MASHIRI LAW FIRM
                                                                                                                     A Professional Corporation
                                                       20

                                                       21                                                            By: /s/ Alex Asil Mashiri
                                                                                                                     Alex Asil Mashiri
                                                       22                                                            Attorney for Plaintiff
                                                       23                                                            FELIPE MAGALLON
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                                                                   PLAINTIFF’S NOTICE OF MOT & MOT. FOR FINAL APPROVAL OF CLASS SETTLEMENT – Magallon v. VRS et al.
